Case 2:O4-cr-20311-.]DB Document 203 Filed 08/29/05 Page 1 of 3 Page|D 292

. 'A .
IN THE UNITED STATES DISTRICT COURT F".ED 315 __(§`. m_ D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

WESTERN DIvlsIoN 95 AUG 29 PH 2= 15
mo 51555 55'1 13'§)555 55
UNITED sTATES oF AMERICA ) l 1
Plaintiff, 5
vs § CR. No. 04-20311-01-B /
) 05-20164_01-13
TERESA FLEMING, )
Defendant. ))
ORDER TO SURRENDER

 

The defendant, Teresa Fleming, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Marianna,
3625 FCI Road, Marianna, FL 32446 by 2:00 p.m. on WEDNESDAY, SEPTEMBER 2], 2005.
IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant will report as ordered to the facility named above.

ENTERED:hiSthe 251<1‘z day OfAugusc 2005 DM\

ANIEL BREEN
ITED STATES DISTRICT JUDGE

Thl's document aimed 0115|”1@ docket he:b`l aon&§iiange
\,.ilh 5511§5§ 55 and/loc 1:2{5;)3 515 lGrP on § §©S

Case 2:O4-cr-20311-.]DB Document 203 Filed 08/29/05 Page 2 of 3 Page|D 293

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fai! to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

 

Signed and acknowledged before me on

 

 

Clerk/Deputy Clerk Defendant

     
 

  

UNITED `sTEATs DISTRIC COURT - WESRNTE D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 203 in
case 2:04-CR-20311 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Larry E. Fitzgerald
FITZGERALD & HARRIS
100 N. Main St.

Ste. 901

1\/lemphis7 TN 38103

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

